Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 1 of 26 Page ID #:1468




     1 McCormick, Barstow, Sheppard,
       Wayte & Carruth LLP
     2 James P. Wagoner, #58553
         jim.wagoner@mccormickbarstow.com
     3 Lejf E. Knutson, #234203
         lejf.knutson@mccormickbarstow.com
     4 Nicholas H. Rasmussen, #285736
         nrasmussen@mccormickbarstow.com
     5 Graham A Van Leuven, #295599
         graham.vanleuven@mccormickbarstow.com
     6 7647 North Fresno Street
       Fresno, California 93720
     7 Telephone: (559) 433-1300
       Facsimile: (559) 433-2300
     8
       Attorneys for Defendant New York
     9 Marine and General Insurance Company
   10                             UNITED STATES DISTRICT COURT
   11            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 Travelers Commercial Insurance                        Case No. 2:21-cv-5832-GW (PDx)
      Company, a Connecticut Corporation,
   14                                                       NEW YORK MARINE AND
                   Plaintiff,                               GENERAL INSURANCE
   15                                                       COMPANY’S MEMORANDUM OF
            v.                                              POINTS AND AUTHORITIES IN
   16                                                       SUPPORT OF ITS MOTION TO
      New York Marine and General                           DISQUALIFY MAYNARD
   17 Insurance Company, a Delaware                         COOPER & GALE, LLP
      Corporation,
   18                                                       Date:               May 11, 2023
                   Defendant.                               Time:               8:30 a.m.
   19                                                       Judge:              Hon. George H. Wu
                                                            Courtroom:          9D
   20
      New York Marine and General
   21 Insurance Company, a Delaware
      corporation
   22
                  Counter-Claimant
   23
            v.
   24
      Travelers Commercial Insurance
   25 Company, a Connecticut corporation,
   26 Counter-Defendant
   27
   28

            New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 2 of 26 Page ID #:1469




     1                                            TABLE OF CONTENTS
     2                                                                                                                            Page
     3 I.        INTRODUCTION ............................................................................................. 1
     4 II.       BACKGROUND ............................................................................................... 3
     5           A.       The Associate’s Employment By McCormick Barstow, His Work
                          On And Receipt Of NY Marine’s Confidential Information
     6                    Concerning This Matter, And His Employment By Maynard
                          Cooper ..................................................................................................... 3
     7
                 B.       Maynard Cooper’s Appearance And NY Marine’s Efforts To
     8                    Resolve This Matter Without Bringing the Present Motion ................... 6
     9 III.      ARGUMENT .................................................................................................... 9
   10            A.       Standard................................................................................................... 9
   11            B.       The Associate Now Employed By Maynard Cooper Previously
                          Represented NY Marine In This Matter, Received NY Marine’s
   12                     Confidential Information Concerning This Matter, And Has A
                          Conflict Requiring His Own And Maynard Cooper’s Automatic
   13                     Disqualification ..................................................................................... 11
   14                     1.       The Associate Both Represented NY Marine And Received
                                   Its Confidential Information Concerning This Matter Such
   15                              That A Conflict Exists ................................................................ 11
   16                     2.       The Associate’s Conflict Is “Direct”, Imputed to Maynard
                                   Cooper, And “Automatically” Requires Its Disqualification
   17                              ..................................................................................................... 14
   18            C.       The Associate’s Purported Lack Of Recollection Of His
                          Representation Of NY Marine And Receipt Of Its Confidential
   19                     Information, Is Not Relevant To The Conflict Analysis Nor Does
                          It Excuse The Need To Disqualify Maynard Cooper ........................... 16
   20
                 D.       Where the Conflict Is Direct And The Conflicted Attorney Is On
   21                     Both Sides Of The Same Dispute, No Ethical Screen Suffices –
                          and Maynard Cooper’s Own Letter Confirms That Even If An
   22                     Ethical Screen Could Have Sufficed, Such A Screen Was Not
                          Timely Implemented Here .................................................................... 18
   23
         IV.     CONCLUSION ............................................................................................... 20
   24
   25
   26
   27
   28
                                                                       i
               New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 3 of 26 Page ID #:1470




     1                                       TABLE OF AUTHORITIES
     2                                                                                                              Page
     3 CASES
     4 City and Cty. of San Francisco v. Cobra Solutions, Inc.,
              (2006) 38 Cal.4th 839 ................................................................................ 12, 14
     5
       Dill v. Superior Court,
     6        (1984) 158 Cal.App.3d 301 ................................................................. 15, 16, 19
     7 Equal Employment Opportunity Comm’n. v. Peters’ Bakery,
              (N.D.Cal. Dec. 22, 2014) 2014 WL 7272943 ................................................. 17
     8
       Flatt v. Superior Court,
     9        (1994) 9 Cal.4th 275 .......................................................... 10, 11, 12, 14, 15, 19
   10 Global Van Lines, Inc. v. Superior Court,
            (1983) 144 Cal.App.3d 483 ................................................................. 12, 16, 17
   11
      H. F. Ahamanson & Co. v. Salomon Brothers, Inc.,
   12       (1991) 229 Cal.App.3d 1445 ..................................................................... 10, 11
   13 Henriksen v. Great American Savings & Loan,
             (1992) 11 Cal.App.4th 109 ............................................ 9, 11, 12, 14, 15, 16, 18
   14
      In re Complex Asbestos Litig.,
   15        (1991) 232 Cal.App.3d 572 ............................................................................. 19
   16 In re Cty. of L.A.,
              (9th Cir. 2000) 223 F.3d 990 ............................................................................ 9
   17
      In re Tevis,
   18        (9th Cir. BAP 2006) 347 B.R. 679 .................................................................. 12
   19 Jessen v. Hartford Cas. Ins. Co.,
            (2003) 111 Cal.App.4th 698 ............................................................................ 11
   20
      Kirk v. First Am. Title Ins. Co.,
   21       (2010) 183 Cal.App.4th 776 ....................................7, 10, 11, 12, 14, 15, 18, 19
   22 Klein v. Superior Court,
            (1988) 198 Cal.App.3d 894 ............................................................................. 15
   23
      Maria De Jesus Cruz Ramos v. Costco Wholesale Corp., et al.,
   24       (C.D.Cal. Nov. 9, 2022) 2022 WL 18278604 ................................................. 19
   25 Mattel, Inc. v. MGA Enter’mt, Inc.,
            (9th Cir. 2011) 408 Fed.Appx. 45 ................................................................... 11
   26
      Meza v. H. Muehlstein & Co., Inc.,
   27       (2000) 176 Cal.App.4th 969 ............................................................ 7, 14, 15, 18
   28
                                                                 ii
               New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 4 of 26 Page ID #:1471




     1                                       TABLE OF AUTHORITIES
                                                   (Continued)
     2                                                                                                               Page
     3 People ex rel Deukmejian v. Brown,
             (1981) 29 Cal.3d 150 ....................................................................................... 12
     4
       People ex rel. Dept. of Corporations v. SpeeDee Oil Change Sys’s., Inc.,
     5       (1999) 20 Cal.4th 1135 .................................................. 9, 11, 12, 14, 15, 16, 18
     6 Rosenfeld Constr. Co. v. Superior Ct.,
            (1991) 235 Cal.App.3d 566 ............................................................................. 17
     7
       Shadow Traffic Network v. Superior Court,
     8      (1994) 24 Cal.App.4th 1067 ............................................................................ 17
    9 Sierra v. Costco Wholesale Corp.,
            (N.D.Cal. 2022) -- F.Supp.3d --, 2022 WL 4454359 ...................... 9, 10, 11, 19
   10
      Terapeutisk, etc., v. Baxter Travenol Lab,
   11       (7th Cir. 1979) 607 F.2d 186 ........................................................................... 12
   12 Trone v. Smith,
            (9th Cir. 1980) 621 F.2d 994 ........................................................................... 12
   13
      United States v. Sun Keung Lee,
   14       (N.D.Cal. Jan. 6, 2011) 2011 WL 52599 ........................................................ 17
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                                 iii
                New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper Gale, LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 5 of 26 Page ID #:1472




     1 I.      INTRODUCTION
     2         Defendant and Counterclaimant New York Marine and General Insurance
     3 Company (“NY Marine”) brings this motion to disqualify Plaintiff and
     4 Counterdefendant Travelers Commercial Insurance Company’s (“Travelers”) newly
     5 appointed counsel of record, Nicholas J. Boos and the law firm Maynard Cooper &
     6 Gale, LLP (“Maynard Cooper”)1 due to a direct and irreconcilable ethical conflict.
     7         NY Marine’s motion is simple and straightforward: from October 13, 2020 to
     8 April 1, 2022, the undersigned law firm, McCormick, Barstow, Sheppard, Wayte &
     9 Carruth LLP (“McCormick Barstow”), employed an Associate attorney, (the
   10 “Associate”) in its Insurance Coverage and Bad Faith Litigation Practice Group. In
   11 that capacity, the Associate: (1) performed actual work for NY Marine on the
   12 coverage dispute with Travelers and their mutual insured out of which the present
   13 litigation directly arises; (2) received multiple emails specifically addressing
   14 confidential and privileged information pertaining to the underlying coverage dispute
   15 out of which this litigation directly arises, including facts bearing on NY Marine’s
   16 positions, as well as discussion of NY Marine’s legal analysis and strategy in
   17 connection with that dispute; (3) was party to numerous conversations with and
   18 between the undersigned counsel for NY Marine during which confidential facts,
   19 legal analysis and strategy regarding NY Marine’s position in the coverage dispute
   20 and this litigation were discussed; and (4) attended a February 23, 2022 dinner with
   21 the undersigned counsel and NY Marine’s Coverage and Litigation Counsel during
   22 which confidential facts, legal analysis and strategy concerning this litigation were
   23
   24
         1
        As of the date of filing, it appears that Maynard Cooper & Gale, LLP has changed
   25 form to Maynard Nexen, P.C. – however, as the firm has filed no formal notice to that
   26 effect in this action, for purposes of this motion, it will be referred to as “Maynard
      Cooper”. (Request for Judicial Notice [“RJN”] ¶¶ 2-3; Declaration of James P.
   27 Wagoner [“Wagoner Decl.”] ¶¶ 17-18, Exs. 7-8.)
   28

                                                           1
             New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 6 of 26 Page ID #:1473




     1 discussed by all present.2 The Associate is now employed by Maynard Cooper in its
     2 San Francisco office under the apparent direct supervision of Travelers’ current lead
     3 counsel of record, Mr. Boos.
     4         Because of the Associate’s actual work on this matter for NY Marine, as well
     5 as his receipt of NY Marine’s confidential information concerning this litigation
     6 including, but not limited to NY Marine’s knowledge of and view of relevant facts,
     7 legal analysis and strategy, the Associate has a direct, irreconcilable and incurable
     8 ethical conflict in opposing his former client, NY Marine, which conflict is imputed
     9 to Mr. Boos and Maynard Cooper. Under well-established California law, as a
   10 “bright-line” rule, the conflict “automatically” requires Maynard Cooper’s
   11 disqualification in this matter.
   12          Furthermore, the undersigned counsel have themselves represented NY Marine
   13 throughout this matter. Consequently, even if the Associate had not actually worked
   14 on this matter and received NY Marine’s confidential information concerning the
   15 litigation during his employment with McCormick Barstow, knowledge of its
   16 confidential information would still be imputed to him. As a result, because California
   17 law provides that no ethical screen is sufficient to excuse a conflict where the tainted
   18 attorney has “switched sides” in the same matter, Maynard Cooper’s disqualification
   19 would still be required even if the Associate had not actually represented NY Marine
   20 and received its confidential information concerning this very matter.
   21          Finally, even if a timely ethical screen could have sufficed to avoid Maynard
   22 Cooper’s disqualification here, because its own admissions confirm that an ethical
   23 wall was not timely implemented as analyzed by California courts, it is also the case
   24 that its disqualification would be required here for that additional reason.
   25
   26
   27    2
        During this time, McCormick Barstow was also handling approximately 75 other
   28 files for NY Marine, some of which files the Associate also assisted in handling.

                                                           2
             New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 7 of 26 Page ID #:1474




     1 II.     BACKGROUND
     2         A.      The Associate’s Employment By McCormick Barstow, His Work
                       On And Receipt Of NY Marine’s Confidential Information
     3                 Concerning This Matter, And His Employment By Maynard Cooper
     4         Beginning on May 28, 2019 and ending on August 1, 2019, McCormick
     5 Barstow employed the Associate as a “Summer Associate” during the summer
     6 between his second and third years of law school. (Wagoner Decl. ¶ 3; Declaration of
     7 Nicholas H. Rasmussen (“Rasmussen Decl.”) ¶ 3.) At the end of his term as a Summer
     8 Associate, the Associate received, and subsequently accepted, an offer of an
     9 employment with McCormick Barstow in its Insurance Coverage and Bad Faith
   10 Litigation Practice Group. (Wagoner Decl., ¶ 3; Rasmussen Decl., ¶ 3.) The Associate
   11 graduated from law school in the Spring of 2020 and commenced his employment
   12 with McCormick Barstow on October 13, 2020.3 (Wagoner Decl., ¶ 3; Rasmussen
   13 Decl., ¶ 3.)
   14          On October 13, 2020, McCormick Barstow was retained by NY Marine to serve
   15 as coverage counsel in connection with the dispute between NY Marine and Travelers
   16 concerning the defense of their mutual insured, Amber Heard, subject to a reservation
   17 of rights, in underlying litigation in Virginia.4 (Wagoner Decl. ¶ 5; Declaration of
   18 Ellen Fine [“Fine Decl.”] ¶ 5.) From the outset, McCormick Barstow’s involvement
   19 included advising NY Marine regarding its obligations to Ms. Heard in the underlying
   20
         3
   21     In November 2020 the Associate passed the California Bar Exam, and was licensed
         as an attorney on January 13, 2021. (RJN ¶ 1; Wagoner Decl. ¶ 16, Ex. 6.)
   22
         4
        McCormick Barstow and the undersigned have represented NY Marine in numerous
   23 matters since at least 2015, and both prior to and since the Associate’s employment
   24 at McCormick Barstow, the firm, through the undersigned and Messrs. Rasmussen,
      Knutson, Van Leuven, and others, routinely represented NY Marine in various
   25 matters. Since McCormick Barstow’s initial receipt of this file from NY Marine, it
   26 has been primarily handled by Messrs. Wagoner and Rasmussen, with the subsequent
      involvement of Messrs. Knutson and Van Leuven. (Wagoner Decl., ¶ 4; Rasmussen
   27 Decl. ¶¶ 4-5.)
   28

                                                           3
             New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 8 of 26 Page ID #:1475




     1 litigation, and specifically with respect to demands by Travelers and by Ms. Heard’s
     2 “personal counsel”—whom NY Marine would subsequently learn was retained and
     3 paid by Travelers—that NY Marine owed a duty to defend Ms. Heard in the
     4 underlying litigation through independent counsel, and that it must participate with
     5 Travelers in doing so: the same claims which Travelers now litigates in this action.5
     6 (Wagoner Decl., ¶ 6; Fine Decl., ¶¶ 5-6.)
     7         In furtherance of McCormick Barstow’s representation of NY Marine in
     8 connection with the coverage dispute with Travelers, by way of a March 1, 2021
     9 email, Mr. Rasmussen requested that the Associate assist him with a project relating
   10 to the coverage dispute with Travelers. (Rasmussen Decl., ¶ 5; Wagoner Decl. ¶ 7.)
   11 Mr. Rasmussen’s March 1, 2021 email to the Associate assigning the project
   12 discussed relevant facts relating to NY Marine’s obligations to the insured in the
   13 underlying action, how they related to NY Marine’s view of its duties and obligations
   14 to the insured in connection with the underlying action, and requested that the
   15 Associate review various documents to identify other similar issues. (Rasmussen
   16 Decl. ¶ 5; Wagoner Decl. ¶ 7.) The Associate subsequently confirmed via a March 2,
   17 2021 email that he had reviewed certain documents in the file, and related an opinion
   18 about how the documents he had reviewed might impact NY Marine’s evaluation of
   19 its obligations.6 (Rasmussen Decl. ¶ 5; Wagoner Decl. ¶ 7.)
   20
   21    5
           Although Travelers would not file this suit until July 2021 (see Dkt. #1), all of its
   22    claims arise directly out of disputes between Travelers and the insured, on the one
         hand, and NY Marine, on the other, concerning NY Marine’s obligations to the
   23    insured in the underlying action. By way of example, Travelers’ discovery requests
   24    seek NY Marine’s documents and communications concerning the underlying
         Virginia litigation involving Ms. Heard and NY Marine’s defense of her in that action.
   25    (Compare, Travelers’ Compl., Dkt #1; Travelers’ First Amended Complaint, Dkt.
   26    #15, with Wagoner Decl., ¶ 6, Ex. 1; Fine Decl., ¶¶ 5-6.)
   27    6
       In addition to this matter, while at McCormick Barstow the Associate also performed
   28 work on several other NY Marine files. (Wagoner Decl. ¶ 7 ; Rasmussen Decl. ¶ 5.)

                                                           4
             New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 9 of 26 Page ID #:1476




     1         Additionally, on February 23, 2022, the Associate attended a dinner at
     2 Boulevard Restaurant in San Francisco with Messrs. Wagoner, Rasmussen, and Van
     3 Leuven, as well as Ellen Fine, then NY Marine’s “Counsel, Coverage and Litigation”.
     4 (Wagoner Decl., ¶ 8; Rasmussen Decl., ¶ 6; Declaration of Graham A. Van Leuven
     5 [“Van Leuven Decl.”] ¶ 3; Fine Decl. ¶ 7.) During the course of the February 23, 2022
     6 dinner, the attendees all discussed various factual issues bearing on NY Marine’s legal
     7 position, as well as their thoughts concerning actual or potential tactical and legal
     8 strategies respecting the litigation. (Wagoner Decl. ¶ 8; Rasmussen Decl., ¶ 6; Van
     9 Leuven Decl. ¶ 3; Fine Decl. ¶ 7.)
   10          In addition to his actual documented work on the file and his participation in
   11 the February 23, 2022 dinner, the Associate was also privy, either as a participant or
   12 bystander, to numerous conversations by and between Messrs. Wagoner, Rasmussen,
   13 Knutson and Van Leuven concerning both the underlying coverage dispute and this
   14 litigation during which relevant confidential information was discussed. (Wagoner
   15 Decl., ¶ 9; Rasmussen Decl., ¶ 7; Declaration of Lejf E. Knutson [“Knutson Decl.”]
   16 ¶¶ 3-4; Van Leuven Decl. ¶¶ 4-5.)7
   17          On April 1, 2022, the Associate terminated his employment with McCormick
   18 Barstow for new employment in the San Francisco office of Maynard Cooper, in its
   19 Insurance and Financial Services Litigation Practice Group. (Wagoner Decl. ¶¶ 10,
   20 16-18, Exs. 6-8; RJN ¶¶ 1-3.)8
   21
         7
   22   In particular, Messrs. Rasmussen and Knutson recall an extended discussion of the
      matter during a camping trip in 2021 attended by Messrs. Wagoner, Rasmussen,
   23 Knutson, and the Associate, as well as another member of McCormick Barstow’s
   24 Insurance Coverage and Bad Faith Litigation Practice Group. (Rasmussen Decl., ¶ 8;
      Knutson Decl. ¶ 4.)
   25
      8
   26 According to Maynard Cooper’s website, as of April 5, 2023, its San Francisco
      office had only six (6) attorneys, of which only three (3) attorneys, including the Mr.
   27 Boos and the Associate are affiliated with its Insurance and Financial Services
   28 Litigation Practice Group. (RJN, ¶¶ 2-3; Wagoner Decl., ¶¶ 17-18, Exs. 7-8.) Mr.

                                                           5
             New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 10 of 26 Page ID
                                 #:1477



  1         B.        Maynard Cooper’s Appearance And NY Marine’s Efforts To
                      Resolve This Matter Without Bringing the Present Motion
  2
            On March 1, 2023, this Court granted Travelers’ “Order on Request for
  3
      Approval of Substitution of Attorney Or Withdrawal of Attorney”, which identified
  4
      Nicholas J. Boos as “retained counsel” for Travelers “instead of” Travelers’ former
  5
      counsel, Mark D. Peterson, Kathleen O. Peterson, and Amy Howse of Cates Peterson
  6
      LLP. (Dkt. # 104). That same afternoon, Mr. Van Leuven recognized that Maynard
  7
      Cooper was the same firm at which the Associate is now employed and that he is in
  8
      the same office as Mr. Boos. (Van Leuven Decl. ¶ 6; Rasmussen Decl. ¶ 9; Wagoner
  9
      Decl. ¶ 11.).
 10
            On March 2, 2023 the undersigned wrote to Mr. Boos observing that the
 11
      Associate had been employed in McCormick Barstow’s Insurance Coverage and Bad
 12
      Faith Litigation Practice Group immediately prior to his employment with Maynard
 13
      Cooper and noting that this gave rise to an ethical conflict requiring Maynard
 14
      Cooper’s withdrawal. (Wagoner Decl., ¶ 12, Ex. 2.) The March 2, 2023 letter
 15
      specifically stated that the Associate had actually worked for NY Marine on this
 16
      matter and had actually received NY Marine’s confidential information concerning
 17
      this litigation, both by way of his work on the file, as well as through conversations
 18
      with the undersigned, and indeed, during the February 23, 2022 dinner with NY
 19
      Marine’s Coverage and Litigation Counsel. (Id.) The March 2, 2023 letter observed
 20
      that as a result, the Associate had an actual conflict which was imputed to Maynard
 21
      Cooper, and quoted the well-established California law holding that “when ‘the
 22
      tainted attorney was actually involved in the representation of the first client, and
 23
      switches sides in the same case, no amount of screening will be sufficient, and the
 24
 25 Boos is also identified as the “Managing Partner of Maynard's San Francisco office”.
 26 (RJN, ¶¶ 2-3; Wagoner Decl., ¶¶ 17-18, Exs. 7-8.) Of the attorneys listed, only the
    Associate is identified as an “Associate”-level attorney; of the others, four (4) are
 27 identified as “Partners”, and one (1) as an “Of Counsel”. (RJN, ¶ 2; Wagoner Decl.,
 28 ¶ 17, Ex. 7.)

                                                        6
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 11 of 26 Page ID
                                 #:1478



  1 presumption of imputed knowledge is conclusive’ thereby requiring the
  2 disqualification of the tainted firm. Kirk v. First Am. Title Ins. Co., 183 Cal.App.4th
  3 776, 814 (2010) (citing Henriksen v. Great Am. Savings & Loan, 11 Cal.App.4th 109,
  4 115, 117 (1992) and Meza v. H. Muehlstein & Co., Inc., 176 Cal.App.4th 969, 979
  5 (2000)).” (Wagoner Decl. ¶ 12, Ex. 2.) Accordingly, the letter requested that Maynard
  6 Cooper “immediately withdraw from Travelers’ representation in this matter.” (Id.)
  7         On March 9, 2023, Mr. Boos, on behalf of Maynard Cooper, responded by letter
  8 to the undersigned. (Wagoner Decl. ¶ 13, Ex. 3.) Maynard Cooper’s March 9, 2023
  9 letter asserted that the Associate “has not had any involvement in this matter”, “is not
 10 disqualified from working on this matter”, and that “his alleged disqualification is not
 11 imputed to other members of [Maynard Cooper].” (Id., at p.1.) The March 9, 2023
 12 letter further asserted that the Associate:
 13         … did not represent your client, New York General Insurance Company
 14         [sic] in the above referenced action while he worked at your firm. He
 15         was not assigned to that matter by your firm, he did not make any
 16         appearances in that matter, and he has no recollection of performing any
 17         work on that matter.
 18 (Id.) Maynard Cooper’s March 9, 2023 letter further asserted that under Rule 1.10(a)
 19 of the California Rules of Professional Conduct, “even if” the Associate “was
 20 disqualified, his disqualification is not imputed to [Maynard Cooper].” (Id.) Maynard
 21 Cooper’s March 9, 2023 letter also asserted that the Associate:
 22         … was timely screened. Although [the Associate] was not disqualified
 23         and, as discussed above, has no confidential information, we
 24         nevertheless developed a screen in response to your letter asserting a
 25         conflict. To that end, [the Associate] has not worked on the above-
 26         referenced action nor will he do so; he is “walled off” from any
 27         information pertaining to the matter, including being unable to access
 28         paper or electronic files; no attorney or employee of our firm will

                                                        7
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 12 of 26 Page ID
                                 #:1479



  1         communicate with him regarding the action; an email memorandum has
  2         been circulated warning legal staff to isolate [the Associate] from
  3         communications regarding the above-reference action and to prevent
  4         access to file materials; and reminder memoranda will be sent to legal
  5         staff every 60 days.
  6 (Id., at p. 2.)
  7         In response, on March 23, 2023, the undersigned provided a further written
  8 response to Mr. Boos addressing the erroneous factual and legal contentions asserted
  9 in Maynard Cooper’s March 9, 2023 letter. (Wagoner Decl. ¶ 14, Ex. 4.) In particular,
 10 NY Marine’s March 23, 2023 letter addressed in detail the facts establishing the
 11 Associate’s actual work for NY Marine on this very matter, as well as his undoubted
 12 receipt of NY Marine’s confidential information concerning the coverage matters
 13 which underlie this litigation, as well as this specific litigation. (Id.) The March 23,
 14 2023 letter again recited the well-established California law providing that where an
 15 attorney directly represents a party and then “switches sides” in that same matter, the
 16 conflict is direct, is imputed to the new firm, and requires as a “bright line” rule the
 17 new firm’s disqualification “automatically.” (Id.) NY Marine’s March 23, 2023 letter
 18 again requested that Maynard Cooper acknowledge the existence of the conflict and
 19 confirm that it would withdraw, or that Mr. Boos “let us know when you are available
 20 next week for a telephonic ‘meet and confer’ conference in connection with NY
 21 Marine’s motion to disqualify Maynard Cooper.” (Id.)
 22         Having not received either: (1) confirmation of Maynard Cooper’s
 23 acknowledgment of the conflict and its agreement to withdraw; or (2) a proposed time
 24 for a telephonic “meet and confer” conference concerning these matters, on March
 25 28, 2023, the undersigned unilaterally proposed a “meet and confer” call on Thursday,
 26 March 30, 2023 at 1:00 p.m. (Wagoner Decl. ¶ 15, Ex. 5.) On March 30, 2023, Mr.
 27 Boos responded that he was unavailable, but would be available on March 31, 2023.
 28 (Id..) The parties subsequently met and conferred by telephone on that date, but no

                                                        8
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 13 of 26 Page ID
                                 #:1480



  1 agreement resolving the present dispute was reached. (Id.) This motion followed.
  2 III.     ARGUMENT
  3          A.      Standard
  4          California state law governs motion to disqualify in federal diversity actions
  5 venued in California. Sierra v. Costco Wholesale Corp., -- F.Supp.3d --, 2022 WL
  6 4454359 *2, fn. 1 (N.D.Cal. 2022) (citing In re Cty. of L.A., 223 F.3d 990, 995 (9th
  7 Cir. 2000) [“Because we apply state law in determining matters of disqualification,
  8 we must follow the reasoned view of the state supreme court when it has spoken on
  9 the issue.”]).
 10          “A trial court's authority to disqualify an attorney derives from the power
 11 inherent in every court to control in furtherance of justice, the conduct of its
 12 ministerial officers, and of all other persons in any manner connected with a judicial
 13 proceeding before it, in every matter pertaining thereto.” Id., (quoting People ex rel.
 14 Dept. of Corporations v. SpeeDee Oil Change Sys’s., Inc., 20 Cal.4th 1135, 1145
 15 (1999) [“SpeeDee Oil”]). Thus, “[w]hether an attorney should be disqualified is a
 16 matter addressed to the sound discretion of the trial court.” Id., (quoting Henriksen v.
 17 Great American Savings & Loan, 11 Cal.App.4th 109, 113 (1992)). “In exercising
 18 that discretion, the trial court is required to make a reasoned judgment which complies
 19 with the legal principles and policies applicable to the issue at hand.” Id., (quoting
 20 Henriksen, supra, at 113). Disqualification motions involve “a conflict between the
 21 clients' right to counsel of their choice and the need to maintain ethical standards of
 22 professional responsibility. [Citation.] The paramount concern must be to preserve
 23 public trust in the scrupulous administration of justice and the integrity of the bar. The
 24 important right to counsel of one's choice must yield to ethical considerations that
 25 affect the fundamental principles of our judicial process.” SpeeDee Oil, supra, at
 26 1145.
 27          In California, the general governing test regarding whether disqualification is
 28 warranted is the “substantial relationship test”, “under which, if the former client can

                                                         9
           New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 14 of 26 Page ID
                                 #:1481



  1 demonstrate a substantial relationship between the subjects of the former and the
  2 current representations, it is presumed that the attorney had access to confidential
  3 information in the first representation which is relevant to the second representation.”
  4 Kirk v. First Am. Title Ins. Co., 183 Cal.App.4th 776, 798 (2010) (citing Flatt v.
  5 Superior Court, 9 Cal.4th 275, 283 (1994) [“Where the requisite substantial
  6 relationship between the subjects of the prior and the current representations can be
  7 demonstrated, access to confidential information by the attorney in the course of the
  8 first representation (relevant, by definition, to the second representation)
  9 is presumed and disqualification of the attorney's representation of the second client
 10 is mandatory; indeed, the disqualification extends vicariously to the entire firm.”]
 11 [emphasis in original]).
 12         In evaluating whether a conflict requiring disqualification exists, “the former
 13 client need show no more than that the matters embraced within the pending suit
 14 wherein his former attorney appears on behalf of his adversary are substantially
 15 related to the matters or cause of action wherein the attorney previously represented
 16 him, the former client. The Court will assume that during the course of the former
 17 representation confidences were disclosed to the attorney bearing on the subject
 18 matter of the representation. It will not inquire into their nature and extent.” H. F.
 19 Ahamanson & Co. v. Salomon Brothers, Inc., 229 Cal.App.3d 1445, 1452 fn. 2 (1991)
 20 (and citing cases); Trone, supra, 621 F.2d at 999 (“The test does not require the former
 21 client to show that actual confidences were disclosed. That inquiry would be improper
 22 as requiring the very disclosure the rule is intended to protect.”); see also, Sierra,
 23 supra, 2022 WL 4454359 *3 (“If the relationship between the attorney and the former
 24 client is shown to have been direct—that is, where the lawyer was personally involved
 25 in providing legal advice and services to the former client—then it must be presumed
 26 that confidential information has passed to the attorney and there cannot be any
 27 delving into the specifics of the communications between the attorney and the former
 28 client in an effort to show that the attorney did or did not receive confidential

                                                       10
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 15 of 26 Page ID
                                 #:1482



  1 information during the course of that relationship.” Sierra, supra, 2022 WL 4454359
  2 *3) (quoting Jessen v. Hartford Cas. Ins. Co., 111 Cal.App.4th 698, 709 (2003)).
  3 Rather, the declarations of the undersigned counsel and NY Marine’s Assistant Vice
  4 President and Senior Counsel, submitted herewith, suffice to establish the requisite
  5 facts. See, generally, Sierra, supra, 2022 WL 4454359 (decided on basis of attorneys’
  6 declarations); H. F. Ahamanson & Co., supra, 229 Cal.App.3d 1445, and Id., at 1451
  7 (discussing Appellate Court’s evaluation of Trial Court’s resolution of factual issues
  8 arising from competing declarations).
  9         And moreover, “when ‘the tainted attorney was actually involved in the
 10 representation of the first client, and switches sides in the same case, no amount of
 11 screening will be sufficient, and the presumption of imputed knowledge is conclusive’
 12 thereby requiring the disqualification of the tainted firm.” Kirk, supra,                               183
 13 Cal.App.4th 776, 814 (2010) (citing Henriksen, supra, 11 Cal.App.4th at 115, 117);
 14 Flatt, supra, 9 Cal.4th at 283 (“where an attorney is disqualified because he formerly
 15 represented and therefore possesses confidential information regarding the adverse
 16 party in the current litigation, vicarious disqualification of the entire firm is compelled
 17 as a matter of law.”); Mattel, Inc. v. MGA Enter’mt, Inc., 408 Fed.Appx. 45, 46 (9th
 18 Cir. 2011) (quoting Kirk, supra, at 776 [“[V]icarious disqualification should be
 19 automatic in cases of a tainted attorney possessing actual confidential information
 20 from a representation, who switches sides in the same case....”].)
 21         B.      The Associate Now Employed By Maynard Cooper Previously
                    Represented NY Marine In This Matter, Received NY Marine’s
 22                 Confidential Information Concerning This Matter, And Has A
                    Conflict Requiring His Own And Maynard Cooper’s Automatic
 23                 Disqualification
 24                 1.      The Associate Both Represented NY Marine And Received Its
                            Confidential Information Concerning This Matter Such That
 25                         A Conflict Exists
 26         As observed by the California Supreme Court in SpeeDee Oil, “[i]n considering
 27 whether an attorney-client relationship has reached a point where the attorney can be
 28 subject to disqualification for a conflict of interest, we begin with the relationship's

                                                       11
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 16 of 26 Page ID
                                 #:1483



  1 early stages … .” SpeeDee Oil, supra, 20 Cal.4th at 1147. Thus, a “fiduciary
  2 relationship between lawyer and client” will extend even to “preliminary
  3 consultations by a prospective client with a view to retention of the lawyer, although
  4 actual employment does not result.” Id., at 1148; In re Tevis, 347 B.R. 679, 692 (9th
  5 Cir. BAP 2006) (“Under California law, the mere consultation with a prospective
  6 client may create a disqualifying conflict of interest for a lawyer, especially where
  7 confidential information was disclosed.”) (citing SpeeDee Oil, supra). “The primary
  8 concern is whether and to what extent the attorney acquired confidential information”.
  9 SpeeDee Oil, supra, 20 Cal.4th at 1148 (citing Hendriksen, supra, 11 Cal.App.4th at
 10 113-114). “That question is not necessarily answered by the amount of time
 11 involved”, and so “[e]ven the briefest conversation between a lawyer and a client can
 12 result in the disclosure of confidences.” Id., (quoting Novo Terapeutisk, etc., v. Baxter
 13 Travenol Lab, 607 F.2d 186, 195 (7th Cir. 1979)).
 14         Furthermore, under California law, knowledge of confidential information—
 15 and thus the existence of a conflict—is imputed to all attorneys in a firm. SpeeDee
 16 Oil, supra, 20 Cal.4th 1135, 1139 (citing Flatt, supra, 9 Cal.4th at 283). This principle
 17 flows from the practical “rationale that attorneys practicing together generally share
 18 each other's, and their clients', confidential information.” Kirk, supra,                               183
 19 Cal.App.4th at 799 (citing City and Cty. of San Francisco v. Cobra Solutions, Inc., 38
 20 Cal.4th 839, 847-848 (2006)). As such, “it is well settled that actual possession of
 21 confidential information need not be proved to disqualify an attorney from
 22 representing the adversary of a former client in litigation against the former client.”
 23 Global Van Lines, Inc. v. Superior Court, 144 Cal.App.3d 483, 489 (1983) (citing
 24 People ex rel Deukmejian v. Brown, 29 Cal.3d 150, 156 (1981); Trone v. Smith, 621
 25 F.2d 994, 999 (9th Cir. 1980) [“Confidential information may or may not have been
 26 shared with other members of the firm, but the firm as a whole is disqualified whether
 27 or not its other members were actually exposed to the information.”].)
 28         In the present instance, the existence of a conflict is straightforward: the

                                                       12
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 17 of 26 Page ID
                                 #:1484



  1 Associate was previously employed by McCormick Barstow from October 13, 2020
  2 to April 1, 2022, and practiced in the firm’s Insurance Coverage and Bad Faith
  3 Litigation Practice Group during that time. (Wagoner Decl., ¶ 3; Rasmussen Decl., ¶
  4 3.) Prior to and during the Associate’s employment at McCormick Barstow, the firm,
  5 through Messrs. Wagoner, Rasmussen, Knutson, Van Leuven and others, routinely
  6 represented NY Marine. (Wagoner Decl. ¶¶ 3-4; Rasmussen Decl. ¶¶ 3-4.) On
  7 October 13, 2020—the same day the Associate began his employment at McCormick
  8 Barstow—NY Marine retained McCormick Barstow to represent it in connection with
  9 certain coverage disputes between itself, Travelers and Ms. Heard relating to the
 10 defense of Ms. Heard in underlying litigation in Virginia, and disputes between those
 11 parties about the respective scope of NY Marine’s and Travelers’ duties. (Wagoner
 12 Decl. ¶¶ 5-6; Rasmussen Decl. ¶ 4; ECF nos. 1, 15.)
 13         The foregoing facts establish the undersigned attorneys’ knowledge and
 14 possession of NY Marine’s confidential information concerning this litigation during
 15 the course of the Associate’s employment by McCormick Barstow, which knowledge
 16 was legally imputed to the Associate. Those facts alone thus suffice to establish an
 17 ethical conflict which “automatically” requires that Maynard Cooper be disqualified
 18 from representing Travelers in this litigation.
 19         But in fact, during the course of his employment, the Associate represented NY
 20 Marine and performed work on multiple NY Marine files—including, most
 21 importantly, work on this file pertaining to NY Marine’s obligations to Ms. Heard in
 22 the underlying litigation in Virginia and the disputes between NY Marine, on the one
 23 hand, and Travelers and Ms. Heard, on the other, concerning NY Marine’s obligations
 24 with respect to the defense of the underlying Virginia litigation—again, the same
 25 matter and dispute which Travelers litigates here. (Wagoner Decl. ¶¶ 4-5; Rasmussen
 26 Decl. ¶¶ 4-8 _; Van Leuven Decl., ¶¶ 3-4; Knutson Decl., ¶ _; ECF nos. 1, 15.)
 27         Additionally, the Associate was also a party to numerous conversations
 28 between the attorneys on this file—Messrs. Wagoner, Rasmussen, Van Leuven and

                                                       13
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 18 of 26 Page ID
                                 #:1485



  1 Knutson—during which they discussed matters which were unquestionably
  2 confidential to NY Marine, including discussions of relevant facts, discussions of the
  3 relative strengths and weaknesses of legal arguments and theories asserted by
  4 Travelers or which were or might be asserted by NY Marine, as well as their own
  5 personal evaluations of the value and credibility of various evidentiary materials and
  6 witnesses. (Wagoner Decl., ¶ 9; Rasmussen Decl., ¶¶ 7-8; Knutson Decl. ¶¶ 3-4; Van
  7 Leuven Decl. ¶¶ 4-5.) The Associate was similarly privy to a conversation between
  8 the undersigned and NY Marine’s Coverage and Litigation counsel during which
  9 those same confidential matters were discussed. (Wagoner Decl. ¶ 8; Rasmussen
 10 Decl. ¶ 6; Van Leuven Decl., ¶ 3; Fine Decl., ¶ 7.)
 11         Given the foregoing, it cannot be disputed that the Associate both actually
 12 “represented” NY Marine in this matter, and obtained NY Marine’s confidential
 13 information concerning this matter. As a result, a conflict undisputedly exists.
 14                 2.      The Associate’s Conflict Is “Direct”, Imputed to Maynard
                            Cooper, And “Automatically” Requires Its Disqualification
 15
            As observed above, for very practical reasons, California law recognizes that
 16
      the knowledge of one attorney in a firm must be imputed to all attorneys in a firm.
 17
      SpeeDee Oil, supra, 20 Cal.4th 1135, 1139 (citing Flatt, supra, 9 Cal.4th at 283);
 18
      Kirk, supra, 183 Cal.App.4th at 799 (citing Cobra Solutions, Inc., supra, 38 Cal.4th
 19
      at 847-848). Thus, where, as here, an attorney with confidential information switches
 20
      sides in the same litigation, “there is a presumption that each member of the [new]
 21
      firm has imputed knowledge of the confidential information.” Meza, supra, 176
 22
      Cal.App.4th at 979 (citing SpeeDee Oil, supra, 20 Cal.4th at 1146); Flatt, supra, 9
 23
      Cal.4th at 283-284; Henriksen, supra, 11 Cal.App.4th at 1117.
 24
            As the California Supreme Court has twice specifically observed, “[t]he
 25
      most egregious conflict of interest is representation of clients whose interests are
 26
      directly adverse in the same litigation.” SpeeDee Oil, supra, 20 Cal.4th at 1147 (citing
 27
      Flatt, supra, 9 Cal.4th at 284, fn. 3). Indeed, as stated in Flatt, “[t]he paradigmatic
 28

                                                       14
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 19 of 26 Page ID
                                 #:1486



  1 instance of such prohibited dual representation—one roundly condemned by courts
  2 and commentators alike—occurs where the attorney represents clients whose interests
  3 are directly adverse in the same litigation. So patently improper is the spectacle of
  4 this sort of conflict that George Sharswood, a justice of the Supreme Court of
  5 Pennsylvania and a 19th century writer on legal ethics, wrote in 1854 that it ‘ought,
  6 like parricide in the Athenian law, to be passed over in silence in a code of
  7 professional ethics.’” Flatt, supra, 9 Cal.4th at 284, fn. 3 (emphasis in original,
  8 citations omitted).
  9         Accordingly, as the Supreme Court explained, the principal focus in
 10 determining whether a conflict of interest requires disqualification is the appearance
 11 of a conflict to the clients and to the public: “[s]uch patently improper dual
 12 representation suggests to the clients—and to the public at large—that the attorney is
 13 completely indifferent to the duty of loyalty and the duty to preserve confidences.
 14 However, the attorney's actual intention and motives are immaterial, and the rule of
 15 automatic disqualification applies.” SpeeDee Oil, supra, 20 Cal.4th at 1147.
 16         In consequence, “[a]s a general rule in California, where an attorney is
 17 disqualified from representation, the entire law firm is vicariously disqualified as well.
 18 This is especially true where the attorney's disqualification is due to his prior
 19 representation of the opposing side during the same lawsuit.” Henriksen, supra, 11
 20 Cal.App.4th at 114-115; Id., (“[W]here an attorney is disqualified because he formerly
 21 represented and therefore possesses confidential information regarding the adverse
 22 party in the current litigation, vicarious disqualification of the entire firm is compelled
 23 as a matter of law.”); Kirk, supra, 183 Cal.App.4th at 814 (“when ‘the tainted attorney
 24 was actually involved in the representation of the first client, and switches sides in the
 25 same case, no amount of screening will be sufficient, and the presumption of imputed
 26 knowledge is conclusive’”, thereby requiring the disqualification of the tainted firm.);
 27 Meza, supra, 176 Cal.App.4th at 979; Klein v. Superior Court, 198 Cal.App.3d 894,
 28 909, 912-913 (1988); Dill v. Superior Court, 158 Cal.App.3d 301, 305-306 (1984);

                                                       15
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 20 of 26 Page ID
                                 #:1487



  1 Global Van Lines, Inc., supra, 144 Cal.App.3d at 490. This is “a bright-line rule”.
  2 SpeeDee Oil, supra, 20 Cal.4th at 1156 (Mosk, J., Concur. Opp.).
  3         Moreover, it is a rule which applies regardless whether the “tainted” attorney
  4 is a Partner or other senior attorney, or a mere “Associate”. Dill, supra, 198
  5 Cal.App.3d at 303, 306; Henriksen, supra, 11 Cal.App.4th at 111 (“At issue is
  6 whether a law firm may continue to represent a client where during the pendency of
  7 litigation it hires an associate who formerly represented the adverse party in the same
  8 proceeding. We follow Dill … and hold that the associate's disqualification results in
  9 the vicarious disqualification of the entire law firm. This disqualification is compelled
 10 even if the law firm takes measures to insulate the new associate from any
 11 involvement in the current litigation.”)
 12         Accordingly, because here the Associate actually represented NY Marine and
 13 obtained its confidential information in this matter, his conflict is direct, is imputed to
 14 Maynard Cooper, and requires Maynard Cooper’s disqualification.
 15         C.        The Associate’s Purported Lack Of Recollection Of His
                      Representation Of NY Marine And Receipt Of Its Confidential
 16                   Information, Is Not Relevant To The Conflict Analysis Nor Does It
                      Excuse The Need To Disqualify Maynard Cooper
 17
            In addition to disputing whether the Associate actually “represented” NY
 18
      Marine in this matter or obtained its confidential information, Maynard Cooper’s
 19
      March 9, 2023 “meet and confer” letter also asserts that the Associate “has no
 20
      recollection of performing any work on [this] matter”. and (2) that he “was timely
 21
      screened”, thus suggesting that this excuses any conflict or avoids the need for its
 22
      disqualification. (Wagoner Decl. ¶ 13, Ex. 3.) Neither position is correct nor suffices
 23
      to avoid the “automatic” “bright-line” requirement that Maynard Cooper be
 24
      disqualified.
 25
            In this respect, the California courts which have passed on the question have
 26
      consistently held that an attorney’s specific recollections of a conflicting
 27
      representation or receipt of confidential information are immaterial where, as here,
 28

                                                       16
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 21 of 26 Page ID
                                 #:1488



  1 the conflict is direct and the attorney is on both sides of the same dispute. Rosenfeld
  2 Constr. Co. v. Superior Ct., 235 Cal.App.3d 566, 576 (1991) (“We find no authority
  3 that supports the notion that, standing alone, the present recollection of the members
  4 of the firm is an adequate criterion.”); Equal Employment Opportunity Comm’n. v.
  5 Peters’ Bakery, Case no. 13-cv-04507-BLF, 2014 WL 7272943 *6 (N.D.Cal. Dec.
  6 22, 2014) (“That Mr. Baker neither recalls the consultation nor, presumably, what
  7 confidential information he received during the consultation, does not eliminate the
  8 risk that his memory may be triggered at any point as the present case develops.”);
  9 United States v. Sun Keung Lee, Case no. CR 10-0186 MHP, 2011 WL 52599 *2
 10 (N.D.Cal. Jan. 6, 2011) (“Lastly, at the hearing and in his papers, Mr. Gruel assures
 11 the court that he has no present recollection of being privy to any confidential
 12 information regarding the government's investigation into Lee's alleged drug-related
 13 criminal activities. [Citations.] Whether Mr. Gruel has any present recollection is not
 14 dispositive here.”); see also, Global Van Lines, Inc., supra, 144 Cal.App.3d at 488
 15 (1983) (finding that notwithstanding an attorney's claims of no present recollection, it
 16 is not unreasonable to impute receipt of confidential information where it would have
 17 been logical for the attorney to have received such information in the course of his
 18 employment); see also, Shadow Traffic Network v. Superior Court, 24 Cal.App.4th
 19 1067, 1086 (1994) (expressing recognition that expert’s representation could be
 20 impacted by his conscious or unconscious consideration of confidential information
 21 received from prior conflicting representation).9
 22
 23   9
        Moreover, since an attorney’s failure to recall either their representation of a client
 24   or their receipt of confidential client information is an entirely subjective matter, it
      cannot logically make a material difference in the analysis where, as here, the attorney
 25   actually did represent the client and acquired its confidential information. Further,
 26   permitting an attorney to avoid a conflict or disqualification based on their purported
      failure to recall representing or performing work for a client would be inconsistent
 27   with both the purpose behind the rule, the “paramount concern” of which the
 28   California Supreme Court has stated “must be to preserve public trust in the

                                                       17
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 22 of 26 Page ID
                                 #:1489



  1          As a result, the Associate’s apparent inability to recall that he actually
  2 represented NY Marine in this matter, or that he received its confidential information
  3 concerning this matter, simply does not alter the analysis nor excuse the conflict itself.
  4          D.      Where the Conflict Is Direct And The Conflicted Attorney Is On
                     Both Sides Of The Same Dispute, No Ethical Screen Suffices – and
  5                  Maynard Cooper’s Own Letter Confirms That Even If An Ethical
                     Screen Could Have Sufficed, Such A Screen Was Not Timely
  6                  Implemented Here
  7          In a further attempt to avoid the consequences of the present conflict, Maynard
  8 Cooper’s March 9, 2023 “meet and confer” letter also asserted that the Associate “was
  9 timely screened”. That argument is unavailing for two reasons: (1) because on the
 10 facts here, under California law no ethical screen is sufficient to avoid
 11 disqualification; and (2) because even if a timely “ethical screen” could have sufficed
 12 to avoid its disqualification here, Maynard Cooper’s own admissions establish that in
 13 this instance, its ethical screen was not “timely” established as a matter of California
 14 law.
 15          As previously observed, under California law, where, as here, “the tainted
 16 attorney was actually involved in the representation of the first client, and switches
 17 sides in the same case, no amount of screening will be sufficient, and the presumption
 18 of imputed knowledge is conclusive.” Kirk, supra, 183 Cal.App.4th 776, 814; Meza
 19 supra, 176 Cal.App.4th at 978 (stating that the rule of automatic disqualification “is
 20 especially true where the attorney's disqualification is due to his prior representation
 21 of the opposing side during the same lawsuit.”); Henriksen, supra, 11 Cal.App.4th at
 22 111 (where conflicted associate moves to firm representing party adverse to the
 23 associate’s former client, “the associate's disqualification results in the vicarious
 24 disqualification of the entire law firm”, and “[t]his disqualification is compelled even
 25
 26 scrupulous administration of justice and the integrity of the bar”, and the need for
    courts to “protect clients' legitimate expectations of loyalty to preserve this essential
 27 basis for trust and security in the attorney-client relationship.” SpeeDee Oil, supra, 20
 28 Cal.4th 1135, 1145, 1147.

                                                        18
           New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 23 of 26 Page ID
                                 #:1490



  1 if the law firm takes measures to insulate the new associate from any involvement in
  2 the current litigation.”); Id., at 114-115 (discussing the issue at greater length and
  3 citing Flatt, supra, 9 Cal.4th at 283); see also, Dill, supra, 158 Cal.App.3d at 308
  4 (concluding that where conflicted associate moved to opposing firm, the opposing
  5 firm “must be disqualified” without consideration of ethical screen). As a result, no
  6 ethical screen is sufficient to excuse Maynard Cooper’s disqualification from
  7 Travelers’ representation in this litigation.
  8         Furthermore, even where an “ethical screen” may be sufficient to avoid a
  9 disqualifying conflict, California law provides that “screening should be implemented
 10 before undertaking the challenged representation or hiring the tainted individual.
 11 Screening must take place at the outset to prevent any confidences from being
 12 disclosed.” Sierra v. Costco Wholesale Corp., supra, 2022 WL 4454359 *4 (emphasis
 13 added) (quoting In re Complex Asbestos Litig., 232 Cal.App.3d 572, 594 (1991));
 14 Maria De Jesus Cruz Ramos v. Costco Wholesale Corp., et al., Case no. CV 22-3579-
 15 MWF (AFMx), 2022 WL 18278604 *2 (C.D.Cal. Nov. 9, 2022) (same); Kirk, supra,
 16 183 Cal.App.4th 776, 792 (same).
 17         Here, the “Request for Approval of Substitution of Attorney Or Withdrawal of
 18 Attorney” naming Mr. Boos and Maynard Cooper as the attorney and firm substituting
 19 in was filed on February 28, 2023, and the Order granting that Request was signed
 20 and filed on March 1, 2023. (ECF #103, 104). It follows logically that Maynard
 21 Cooper undertook Travelers’ representation in this matter on or before February 28,
 22 2023. However, Maynard Cooper’s March 9, 2023 letter expressly acknowledges that
 23 Maynard Cooper only “developed a screen in response to [McCormick Barstow’s]
 24 letter” of March 2, 2023. (Wagoner Decl., ¶ 13, Ex. 3, p. 2 [emphasis added]). Its own
 25 statement thus confirms that even if a screen could have been effective, it was not
 26 “timely” implemented here, because it was not implemented “before [its]
 27 undertaking” of Travelers’ representation in this matter. (Id.; ECF #103.) As a result,
 28 even if well-established California law did not hold that such a screen is immaterial

                                                       19
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 24 of 26 Page ID
                                 #:1491



  1 in the present circumstances, Maynard Cooper still could not find shelter in its
  2 admittedly untimely attempt to screen the conflicted Associate.
  3 IV.     CONCLUSION
  4         For all of the foregoing reasons, NY Marine respectfully requests that the Court
  5 grant its motion to disqualify Maynard Cooper from representing Travelers in this
  6 action based on the manifest ethical conflict created by its employment of an attorney
  7 who previously represented NY Marine in this same matter.
  8 Dated: April 10, 2023                            McCORMICK, BARSTOW, SHEPPARD,
                                                         WAYTE & CARRUTH LLP
  9
 10
                                                   By:           /s/ James P. Wagoner
 11
                                                                James P. Wagoner
 12                                                               Lejf E. Knutson
                                                             Nicholas H. Rasmussen
 13
                                                             Graham A. Van Leuven
 14                                               Attorneys for Defendant New York Marine and
                                                           General Insurance Company
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                         20
          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 25 of 26 Page ID
                                 #:1492



  1                                      WORD COUNT CERTIFICATE
  2               I certify that the foregoing Plaintiff and Counter-defendant's Motion to
  3 Disqualify Maynard Cooper & Gale LLP contains 6,480 words (not including the
  4 cover, the Table of Contents, the Table of Authorities, the signature block, and this
  5 certificate). In preparing this certificate, I relied on the word count of Microsoft Office
  6 Word 2010, the computer program used to prepare the Plaintiff and Counter-
  7 Defendant's Motion to Disqualify Maynard Cooper & Gale LLP.
  8
  9 Dated: April 10, 2023                              McCORMICK, BARSTOW, SHEPPARD,
                                                           WAYTE & CARRUTH LLP
 10
 11
                                                     By:           /s/ James P. Wagoner
 12
                                                                  James P. Wagoner
 13                                                                 Lejf E. Knutson
                                                               Nicholas H. Rasmussen
 14
                                                               Graham A. Van Leuven
 15                                                 Attorneys for Defendant New York Marine and
                                                             General Insurance Company
 16
 17
      9015173.1
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                           21
            New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
Case 2:21-cv-05832-GW-PD Document 106-2 Filed 04/10/23 Page 26 of 26 Page ID
                                 #:1493



  1                                       PROOF OF SERVICE
  2   Travelers Commercial Insurance Company v. New York Marine and General
                                Insurance Company
  3
      STATE OF CALIFORNIA, COUNTY OF FRESNO
  4
           At the time of service, I was over 18 years of age and not a party to this action.
  5 I am employed in the County of Fresno, State of California. My business address is
    7647 North Fresno Street, Fresno, CA 93720.
  6
           On April 10, 2023, I served true copies of the following document(s) described
  7 as NEW YORK MARINE AND GENERAL INSURANCE COMPANY’S
    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS
  8 MOTION TO DISQUALIFY MAYNARD COOPER & GALE, LLP on the
    interested parties in this action as follows:
  9
    Nicholas J. Boos                              Kirk Pasich
 10 Maynard Cooper & Gale                         Kayla Robinson
    Two Embarcadero Center, Suite 1450            Pasich LLP
 11 San Francisco, CA 94111                       10880 Wilshire Blvd., Suite 2000
    Telephone: (415) 646-4674                     Los Angeles, CA 90024
 12 Email: nboos@maynardcooper.com                Telephone: (424) 313-7860
                                                  Email: kpasich@pasichllp.com
 13 Attorneys for Plaintiff Travelers krobinson@pasichllp.com
    Commercial Insurance Company
 14                                               Attorneys for Non-Party Amber Heard
 15        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
    the document(s) with the Clerk of the Court by using the CM/ECF system.
 16 Participants in the case who are registered CM/ECF users will be served by the
    CM/ECF system. Participants in the case who are not registered CM/ECF users will
 17 be served by mail or by other means permitted by the court rules.
 18      I declare under penalty of perjury under the laws of the United States of
    America that the foregoing is true and correct and that I am employed in the office of
 19 a member of the bar of this Court at whose direction the service was made.
 20         Executed on April 10, 2023, at Fresno, California.
 21
 22                                                           /s/ Heather Ward
                                                         Heather Ward
 23
 24
 25
 26
 27
 28

          New York Marine’s Memo of P&As In Support of Its Motion to Disqualify Maynard Cooper & Gale LLP
